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STATE OF TEXAS

COUNTY OF TARRANT

BEFORE ME, the undersigned personally appeared, Nona Taggart, who after being duly
sworn deposed and said as follows:

My name is Nona Taggart. I am over the age of 18 and am in all respects competent to
make this affidavit. I have personal knowledge of the facts stated in this affidavit, and they are
true and correct.

I am a resident at Remarkable Health Care in Fort Worth. I have lived here for over 7
years (since January 2017). Last Wednesday (4/10/24), I went to dialysis like I do each week. I
knew there was an employee meeting going on while I was gone, but I did not know what it was
about. When I got back from dialysis, I was told by the Activity Director and Kitchen Manager
that during the employee meeting, everyone learned that the federal government had told the
State to shut down the building. There was also a meeting during which residents were told we
had 8 days to move because the federal government was telling the State to shut down the
nursing home. There was a man from the state in the building last Wednesday, and these
meetings were after he arrived,

Needless to say, this was very upsetting for me and all of the other residents. We
understand that there may have been some care issues in the past, but those were minor in
comparison to telling us we were going to basically lose our home or that funding for our care
was going to be stopped. I have cried more the last several days than I can remember in a very
long time. This has been so upsetting that I have had a hard time sleeping, and I feel like if I am
forced to move that my home is basically being ripped out from under me. Being this upset has
also been bad for my physical health, not just my emotional health, My best friends are here,
and they are all just as upset as I am. We have all cried and cried since last week’s events. Also,
the nursing home staff has become my family. I cannot imagine the government taking our
family away from us in just 8 days. Again, I know there may have been some care issues in the
past, but this place has taken good care of me, and I do not want to leave. 1 also do not have the
funds to pay without Medicare and Medicaid paying for my stay. As of today, we are still being
told we have to move by Thursday 4/18/24.

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SUBSCRIBED AND SWORN TO before meen this _ /1 * ay of April, 2024.

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DON J NAVARO ’
Notary 4) #130920672

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“ ‘December 2, 2024

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STATE OF TEXAS

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COUNTY OF TARRANT

BEFORE ME, the undersigned personally appeared, Larry McAfee, who after being duly
sworn deposed and said as follows:

My name is Larry McAfee. I am over the age of 18 and am in all respects competent to
make this affidavit. I have personal knowledge of the facts stated in this affidavit, and they are
true and correct.

My wife, Sarah McAfee, is a resident at Remarkable Health Care in Fort Worth, and she
has been off and on since March 2019. I have also received therapy there from time to time for
some older injuries. Last week, I was told that I had 8 days to relocate my wife because the
federal government and the state were shutting down the building. My wife has dementia, as
well as hypertension (high blood pressure), and she recently had a heart valve replacement. She
has had a stroke in the past. She is also immobile and has a history of falls. Prior to this past
year, my wife has needed rehabilitation care on multiple occasions. Remarkable is the only
facility where we ever considered taking her because of the services remarkable provides. Over
the last year, due to my wife’s dementia, she has been a full-time resident at remarkable. It is her
home, and this is where she is happy. It is where she gets the care she needs, and in my opinion,
there is no other facility in the area that can provide for her care. Again, my wife bas required
multiple services over the last several years, and remarkable has always been out choice because
this facility is best equipped to meet her needs.

The events of the last week have all been very upsetting for me and my wife and all of
the other residents and families with whom I have had contact. We understand that there may
have been some care issues in the past, but those were minor in comparison to telling these
residents that they were basically lose their home or that funding for their care was going to be
stopped. Moving a resident with dementia and the other problems my wife has will be very
traumatic, and it will be damaging to her physically, as well as emotionally. The situation here is
also troubling to me because my wife is partially a private pay resident (she receives some
Medicare, but I pay certain costs out of pocket, as well). Again, even though I know there may
have been some care issues in the past (no nursing home is perfect), Remarkable has taken good
care of my wife, and I do not want her to be forced to move. I also do not want her Medicare
funding stopped because that is not in her best interest.

He,
SUBSCRIBED AND SWORN TO before me on this _/6 _ day of April, 2024.
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STATE OF TEXAS

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AFFIDAVIT OF JAY LLOYD

BEFORE ME, the undersigned personally appeared, Jay Lloyd, who after being duly
sworm deposed and said as follows:

My name is Jay Lloyd. I am over the age of 18 and am in all respects competent to make
this affidavit. I have personal knowledge of the facts stated in this affidavit, and they are true
and correct.

I am a resident at Remarkable Health Care in Fort Worth. I have lived here for over a
year. Last Wednesday (4/10/24), we wete told we had 8 days to relocate because the federal
government and the state were shutting down the building. On Friday (4/12/24), we were told
there was a new owner coming in and that we would be able to stay if we wanted, but this
morning we were told that we still had to move by this Thursday because the facility was still
going to be closed. We were told that the “pause” was just for the weekend because other
facilities in the area did not have a place for us.

Needless to say, this has all been very upsetting for me and all of the other residents. We
understand that there may have been some care issues in the past, but those were minor in
comparison to telling us we were going to basically lose our home or that funding for our care
was going to be stopped. I have high blood pressure, heart problems (atrial fibrillation), and
diabetes, and ripping my home out from under me has been bad for my physical condition, as
well as my mental state. I have had a hard time sleeping because J have been so worried about
this, and I feel like if I am forced to move that my home is basically being ripped out from under
me. The staff here take good care of me, and I do not want to leave. I do not understand how the
government can take away our home or take away our Medicare/Medicaid funds on such short
notice, Again, I know there may have been some care issues in the past, but this place has taken
good care of me, and I do not want to leave. I also do not have the funds to pay without
Medicare and Medicaid paying for my stay.

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BEFORE ME, the undersigned personally appeared, sas McLoud, who after being

duly sworn deposed and sai i as foflows:
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My name is Anthor cLoud, J am over the age of 18 and am in all respects competent
to make this affidavit. I have personal knowledge of the facts stated in this affidavit, and they
are true and correct.

Iam a resident at Remarkable Health Care in Fort Worth. I have lived here for almost 18
months. Last Wednesday (4/10/24), we were told we had 8 days to relocate because the federal
government and the state were shutting down the building. This has been very upsetting for me
and all of the other residents. We understand that there may have been some care issues in the
past, but those were minor in comparison to telling us we were going to basically lose our home
or that funding for our care was going to be stopped. I have had heart problems, and ripping my
home out from under me has been bad for my physical condition, as well as my mental state. I
have had a hard time sleeping because I have been very worried about this, and I feel like if I am
forced to move that my honte is basically being ripped out from under me. The staff here take
good care of me, and I do not want to leave. I also do not have the funds to py without
Medicare and Medicaid paying for my stay.

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December 2, 2024 ,

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BEFORE ME, the undersigned personally appeared, Kelvin Rollins, who after being duly
sworn deposed and said as follows:

My name is Kelvin Rollins. I am over the age of 18 and am in all respects competent to
make this affidavit. I have personal knowledge of the facts stated in this affidavit, and they are
true and correct.

My Father, Oliver Jones, is a resident at Remarkable Health Care in Fort Worth, and he
has been since October 2023. Last week, I was told that I had 8 days to relocate my Dad because
the federal government and the state were shutting down the building. My Dad is mobility
impaired, has undergone surgical rehabilitation, and he has high blood pressure, as well as heart
problems.

The events of the last week have all been very upsetting for me and my father and all of
the other residents and families with whom I have had contact. We understand that there may
have been some care issues here in the past, but those were minor in comparison to telling these
residents that they were basically lose their home or that funding for their care was going to be
stopped. I fear that moving my father under these circumstances will be detrimental to his
physical, as well as his emotional well-being. The situation here is also troubling to me because
my father is partially a private pay resident (he receives some Medicare, but I pay certain costs
out of pocket, as well). Again, even though I know there may have been some care issues in the
past (no nursing home is perfect), Remarkable has taken good care of my Dad, and I do not want
him to be forced to move. I also do not want his Medicare funding stopped because that is not in
his best interest, A

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Ho. day of April, 2024.

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BEFORE ME, the undersigned personally appeared Oliver Jones, who after being duly
sworn deposed and said as follows:

My name is Oliver Jones. I am over the age of 18 and am in all respects competent to
make this affidavit. I have personal knowledge of the facts stated in this affidavit, and they are
true and correct.

I am a resident at Remarkable Health Care in Fort Worth, and have been since October
2023. Last week, I was told that I had 8 days to relocate because the federal government and the
state were shutting down the building. I am mobility impaired. I have undergone surgical rehab,
and I have high blood pressure, as well as heart problems.

The events of the last week have all been very upsetting for me. I understand that there
may have been some care issues here in the past, but those were minor in comparison to telling
us that we will basically lose our home or that funding for our care was going to be stopped. I
fear that moving under these circumstances will be detrimental to my physical, as well as my
emotional well-being. Remarkable has taken good care of me, and I do not want to be forced to
move. I also do not want my Medicare funding stopped. The current situation with potentially
losing our funding is causing me a lot of stress and anxiety, which is not good for my blood
pressure and my heart.

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SUBSCRIBED AND SWORN TO before me oft ithis fb. 4 day of April, 2024.

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